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U.S.A. vs. Ravmond Garv Docket No. 2:0"1
Petition on Probation and Supervised Release

COMES NOW Michelle R. Sims PROBATION OFFICER OF THE COURT presenting an
official report upon the conduct and attitude of Ra\__{mond GM who was placed on supervision by the
Honorable Julia Smith Gibbons sitting in the Court at Mernphis, Tennessee, on the_lQ‘_h_day of November,
Ml, who erd the period of supervision at two {2) years* , and imposed the general terms and conditions
theretofore adopted by the Coult and also imposed Special Conditions and terms as follows:

1. The defendant shall make restitution in the amount of $40,867.91, (Balance: $40,677.91)

* Term of Supervised Release began on May 12, 2003.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Raymond Gary has failed to pay restitution in iiill as ordered. He has maintained employment, but has made
sporadic payments throughout his term of supervision Based upon the defendant’s previous income and
his necessary living expenses, the defendant was unable to make monthly payments He has found new
employment and his income has increased, however, it does not appear that the defendant will be able to
satisfy his outstanding balance by his scheduled expiration date. Based upon this fact, the collection of the
defendant’s restitution matter was referred to the OHice of the United States Attomey/Financial Litigation
Unit in February 2005. An Automatic Payroll Deduction Agreement was established and Forty Dollars
($40.00) per pay period is deducted and applied toward restitution

PRAYING THAT THE COURT WILL ORDER that Raymond Gary’s term of Supervised Release be
allowed to expire as scheduled on May ll, 2005 , with the understanding that the United States Attorney’s
Oflice will be responsible for the continued collection of restitution

ORDER OF COURT Respectfully,

Considered and ordered thiso?,§ fday my @/)\ %§U,M
of , 2002 and ordered Michelle R. Sirrw »/

iiied and made a part of the records in United States Probation OHicer
the above case.

Place Memphis. TN

  

Unite States Distr`ct Judge

Th! documer‘t entered on the dockets eetl.icomp!iance l
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with Rule 55 ancifor 32(b) FllCrP on § b g 5

Date April 14. 2005

   

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 666 in
case 2:0]-CR-20053 was distributed by faX, mail, or direct printing on
Apri126, 2005 to the parties listed.

 

 

Thomas L. Parker

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

